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         ORDERED in the Southern District of Florida on August 17, 2021.




                                                                             Erik P. Kimball, Judge
                                                                             United States Bankruptcy Court
_____________________________________________________________________________
                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                             WEST PALM BEACH DIVISION
                                                 www.flsb.uscourts.gov

         In re:

         HELLENIC PETROLEUM, LLC,                                           CASE NO.: 21-12317-EPK

                    Alleged Debtor.                              /          Chapter 7 (Involuntary)

                          ORDER GRANTING MOTION FOR RELIEF FROM THE
                    AUTOMATIC STAY AS TO FRESNO ADVERSARY PROCEEDING [ECF #39]

                    THIS MATTER came before the Court on August 11, 2021 at 1:30 p.m. (the “Hearing”)

         upon the Motion for Relief from the Automatic Stay as to Fresno Adversary Proceeding [ECF# 39]

         (the “Motion”)1 filed by Sallyport Commercial Finance, LLC and DRO Barite LLC (together, the

         “Movants”) pursuant to 11 U.S.C. § 362(d)(1), Rule 4001 of the Federal Rules of Bankruptcy

         Procedure, and Rule 4001-1 of the Local Bankruptcy Rules for the Southern District of Florida,

         seeking relief from the automatic stay to proceed with certain litigation involving Hellenic

         Petroleum, LLC (the “Alleged Debtor”), pending before the U.S. Bankruptcy Court for the Eastern


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             Capitalized terms not expressly defined herein shall have the meanings ascribed to them in the Motion.



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District of California, Fresno Division (the “Fresno Bankruptcy Court”). The Court having

reviewed and considered the Motion, the Affidavit of Lori Eropkin in Support of Sallyport

Commercial Finance, LLC and DRO Barite LLC’s Motion for Relief from the Automatic Stay as

to Fresno Adversary Proceeding [ECF #40] filed by the Movants, the Request for Judicial Notice

in Support of Sallyport Commercial Finance, LLC and DRO Barite LLC’s Motion for Relief from

the Automatic Stay as to Fresno Adversary Proceeding [ECF #41] filed by the Movants, the

Response in Opposition to Motion for Relief from the Automatic Stay as to Fresno Adversary

Proceeding [ECF #57] filed by the Alleged Debtor, and the Status Report on Sallyport Commercial

Finance, LLC and DRO Barite LLC’s Motion for Relief from the Automatic Stay as to Fresno

Adversary Proceeding [ECF #114], and having heard the arguments of counsel for the Movants

and counsel for the Alleged Debtor at the Hearing,

       IT IS ORDERED THAT:

       1.      The Motion is GRANTED under 11 U.S.C. § 362(d)(1).

       2.      As to Movants, the stay of 11 U.S.C. § 362(a) is terminated as to the Alleged

Debtor and the Alleged Debtor’s bankruptcy estate with respect to the case styled as Kodiak

Mining & Minerals II, LLC, et al., v. Manfredo, Fresno Bankruptcy Court, Adversary Proceeding

No. 2017-01086 (the “Fresno Proceeding”). Movants may proceed to final judgment (including

any appeals) in the Fresno Proceeding.

       3.      The automatic stay will remain in effect as to enforcement of any resulting

judgment in the Fresno Proceeding as against the Alleged Debtor and property of this bankruptcy

estate, except that Movants will retain the right to file a proof of claim in this bankruptcy case

under 11 U.S.C. § 501.

       4.      This Order shall remain binding and effective despite any conversion of this

bankruptcy case to a case under any other chapter of the Bankruptcy Code.



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       5.      The Court retains jurisdiction to enforce the terms of this Order.

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Submitted by:
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(Attorney Charbonneau is directed to serve a copy of this order on interested parties who are non-
CM/ECF users and to file a proof of service)




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